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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                            LAKE CHARLES DIVISION


UNITED STATES OF AMERICA                         CASE NO. 2:19-CR-00136-01

VERSUS                                           JUDGE JAMES D. CAIN, JR.

JAMES GAHARAN (01)                               MAGISTRATE JUDGE KAY

                              MEMORANDUM ORDER

       Before the Court is a Motion for Reconsideration [Doc. 59] filed by Defendant

James Garahan. On March 6, 2022, Mr. Garahan filed a Motion Pursuant to 18 U.S.C. §

3582(c)(1)(A) for Compassionate Release [Doc. 47]. On April 8, 2022, the Government

filed its opposition to Mr. Garahan’s motion [Doc. 53]. On April 19, 2022, Mr. Garahan

filed a Motion for Extension of time within which to respond to the Government’s

Opposition [Doc. 54] which was granted on April 29, 2022, giving Mr. Garahan until May

10, 2022, to file a reply. On April 28, 2022, Mr. Garahan filed a reply to the Government’s

opposition [Doc. 56]. On April 29, 2022, this Court signed its Memorandum Order [Doc.

57] denying Mr. Garahan’s Motion Pursuant to 18 U.S.C. § 3582(c)(1)(A) for

Compassionate Release.

       Mr. Garahan now filed this Motion for Reconsideration [Doc. 59] arguing that

considering the timing of the filing of Mr. Garahan’s reply to the Government’s opposition

it is unlikely that the Court considered Mr. Garahan’s reply, and the arguments raised

therein. The Court disagrees and notes that proper consideration was given to Mr.

Garahan’s reply, and the arguments raised therein. However, as stated in this Court’s


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Memorandum Order, the Court finds that there is insufficient evidence of “extraordinary

and compelling reasons” for Mr. Gaharan’s early release. Allowing a reduction in Mr.

Gaharan’s case would not provide adequate deterrence form criminal conduct or reflect the

seriousness of his offence. Accordingly, there is no basis for granting compassionate

release in this matter.

       As such,

       For the reasons stated in this Court’s Memorandum Order [Doc. 57], the Motion for

Reconsideration [Doc. 59] is DENIED.

       THUS DONE AND SIGNED in Chambers this 27th day of May, 2022.




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                                JAMES D. CAIN, JR.
                         UNITED STATES DISTRICT JUDGE




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